                Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 1 of 50


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                                B/24/2015                                       '   I, ACTION NO.
                                   Case dauber 1519CV08917
                                  Description 1579008917. Oulton, Sarah
                                R. vs. Hladick, Carol B.
SARAH A. OUL,1                            Froa Goodwin, Esq., Coreeil
    Plaintiff,                  On Behalf Of Dalton, Sarah A.
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CAROL B. HLAI •                       Fge Change • .BB'S           in his capacity as a Lieutenant
with the Town of'                T1  .141: LILTS'                     DAVID P. OULTON,
KEOUGH +                                           •- •  :r•               II, ATTORNEY
                        C!)!:1epts .:;
JEROME V. SWI:,;:...:.1                                           7.egistered Agent of Keough +
Sweeney, Ltd., A...14'CA*L'rSEAIN-r-.-iiti;i7t..tr;-rt.i.:.21.....10SEPH A. KEOUGH III,
ATHENA HEALTH CARE SYSTEMS MA III LLC, dba MARLBOROUGH HILLS
HEALTHCARE CENTER, COLONIAL HEALTH GROUP-WESTRIDGE, LLC, MICHAEL
LINCOLN, GINA QUIEROS, ANDREA EDWARDS., DONNA DELCID, KAREN SPERONI,
CHRISTINE FRENCH, DENISE STEPHENSON, SAUDA MATOVU, MIRICK O'CONNELL
DIMALLTE & LOUGEE LLP, ATTORNEY JOHN-0. MIRICK, ATTORNEY JASON A.
PORT, ATTORNEY ARTHUR P. BERGERON, THE JOWDY GROUP, INC., ALEXANDER
R. JOWDY, CYNTHIA BRACCIALE,• JOHN EVERETT 8c SONS FUNERAL HOME,
JOSEPH EVERETT, individually and in his capacity as Registered Agent of John Everett &
Sons Funeral Home, DENNIS CUNNINGHAM, SUSAN DAVIS, MAUREEN REEVE, BRIAN
FALVF.Y, LUKE SIMPSON, RICHARD KELLY, PLOURDE BOGUE MOYLAN &
MARINO LLP, ATTORNEY THOMAS MOYLAN, individually and in his capacity as
Registered Agent of Plourde Bogue Moylan & Marino LLP, ATTORNEY MELISSA CURLEY,
THE LAW OFFICE OF DEBORAH MASTERSON, ATTORNEY DEBORAH MASTERSON,
individually and in her capacity as Owner of The Law Office of Deborah Masterson, WINSTON
LAW GROUP, ATTORNEY NEAL WINSTON, individually and in his capacity as Registered
Agent of Winston Law Group, ATTORNEY MICHAEL COUTURE, JOHN DOES I-X, in their
individual and official capacities, and JANE DOES I-X, in.theirindividual and official
capacities,
         Defendants.




                         VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

               COMES NOW Plaintiff, Sarah A. Oulton, who resides at 69 Autumn Street, Agawam,

     Massachusetts ("Plaintiff"), by and through her counsel, Attorney Corcen Goodwin and Attorney

     James Bailey Brislin, and hereby brings this Complaint and alleges the following:




     Oulton v. Iliadic& et al. - Verified Complaint and Demand for Jury Trial
Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 2 of 50




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                       Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 3 of 50



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                                                        STATEMENT 01- DAMAGES PURSUANT TO G.L c. 212, 5 3A

 The following is a full. Itemized and detailed statement of the fads on which the undersigned plaintiff or plaintiff °sunset relies to determine money damages. For
 this form, disregard double or treble damage claims; indicate single damages. only.

                                                                                 1.1).8.LCJAIMS
                                                                     (attach additional sheets as necessary)

 A. Documented medical expenses to date:
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           2. Total doctor expenses •
           3. Total chtropractic expenses                                                                                                         $
           4. Total physical therapy eiPenses                                                                                                   S
           5. Total other expenses (describe below)                                                                                            $
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B. Documented lost wages and compensation to data                                                                                                 S
C. Documented property damages to dated                                                                                                           S
0, Reasonably anticipated future medfcat and hospital expenses
E.Reasonably anlidpated lost wages                                                                                                        ,       4
F. Other documented items of damages (describe below)                                                                                             S


G. Briefly describe plaintiff's Injury. including the nature and extent of injury:

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                                                                          CONTRACT CI AIMS
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Provide a detailed description of claims(s):
                                                                                                                                       TOTAL: S



Signature of Attorney/Pro Se Plaintiff: X                                                                                                Date: -           .15
RELATED ACTIONS: Please provide the case number, case name, and county or any related actions pending in the Superior Court



                                                CERTIFICATION PURSUANT TO SJC RULE 1:18
I hereby certify that I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that I provide my clients with information about court-connected dispute resolution services and discuss with them Ihe
advantages and disadvantages of the var'ous methods of dispute resolution.        •

Signature of Attorney of Record: X                          m                43,                                                         Da to:9 -        —1
                    Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 4 of 50


                                                       DOCKET NUMSER
         CIVIL TRACKING ORDER                                                           Trial Court of Massachusetts                                                  i' ,.
             (STANDING ORDER 1.88)                     1579CV00917                      The Superior Court                                                        tIO
CASE NAME:
                                                                                        Laura S Gentile, Clerk of Courts
    Oulton, Sarah A. vs. Hladick, Carol B. et al

TO: Careen Goodwin, Esq.                                                            COURT NAVE 8 ADDRESS

     Law Office Of Careen Goodwin                                                       Hampden County Superior Court
                                                                                        Hal! cf Justice. - 50 State Street
    64 Donbray Road
                                                                                        P.O. Box 559
    Springfield, MA 01119
                                                                                        Springfield, MA 01102



                           _...              TRACKING ORDER - A - Average
             You are hereby notified that this case is on the track referenced above as per Superior Court Standing
   Order 1-88. The order requires that the various stages of litigation described below must be completed not later
   than the deadlines indicated.


               STAGES Qi_l_ITIGATIoN                                                       DEADLINE

                                                                           SERVED BY                     FILED BY                          HEARD BY
                                                                         .i.....,,,•,;,:.:; --, •.                                     :4i
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   Service of process made and return filed with the Court               i•":4,.!.            !: -   03/23/2016                      '*•.'" ' -.=-•      •'          •"
                                                                                                                                     •:.!.:-     r
   Response to the complaint filed (also see MRCP 12)                     . 4: i.'` - -, •.          04/22/2016                        - - -T..r. .                •-•

   All motions under MRCP 12, 19, and 20                                     04/22/2016              05/23/2016                            06/21/2016

   All motions under MRCP 15                                                 02/16/2017              03/2Q/2017                            03/20/2017

   All discovery requests and depositions served and non-expert                                          ," • •                            •
                                                                            12/13/2017               '                                                ,-,
   despositions completed                                                                                         .. z....-.         ,.        ..      • TT,:..z
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   Ail motions under MRCP 56                                                 01/12/2018              02/12/2018
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   Final pre-trial conference held and/or firm trial date set                                                                              06/11/2018
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                                                                           ,,, ••              .
   Case shall be resolved and judgment shall issue by                    ,..-T.,: • .                                %712/24/2018
                                                                                                                               •,.




  The final pre-trial deadline is not tte_scheduled date 9f the confmnse. You will be notified of that date at a later time.
  Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
  This case is assigned to



 DATE ISSUED                ASSISTANT CLERK                                                                            PHONE.

    12/28/2015                 Cheryl Coakley-Rivera
0.0.0ThwPar.404/$401311WM                                                                                                                                       r.,Cv WA4 11.1.01.1
                              Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 5 of 50



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                       1DKTZ, W\I\111,Z1` P4412-t Ck1 otPLI\11-/
                                   •      •      •    STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, g 3A

 The following Is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff counsel relies to determine money damages. For
 this tom. disregard double or treble damage datrns; indicate single damages only.
                                                                                   TORT CLAIMS .
                                                                       (attach additional sheets•as necessary)

 A. Documented medical expenses to.date: .                                                            •
        '1. Total hospital                                                .                       •
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B.Documented lost wages and compensation to date .»..»                                                                                               S
C.Documented property damages to dated                                                                                                               S
D.Reasonably anticipated future medical and hospital expenses                                                                                         S
E. Reasonably antldpaleff lost wages                                                  .40


F.Other documented Items of damages (describe below)


G. Briefly describe plaintiffs Injury, including the nature and extent of injury:

                                                                                                                                         TOTAL (A-F):$

                                                                            CON TRACJSLAIMS
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Provide a detailed description of ciaims(s):
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Sitinelette-4a£Attosifey/Pro Se Plaintiff: X                                                                                                    Datei 12-2,4-20

RELATED ACTIONS: Please provide the case nu ber, case nam ,                                 county of any related actions pending in the trperior Court.
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                                                CERTIFICATION PURSUANT TO SJC RULE 1:18
I hereby certify that I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that I provide my clients with information about court-connected dispute resolution services and discuss ‘vittt them the
advantages and disadvantages of the various methods of dispute resolution. •

Signature of Attorney of Record: X                                                                                                              Date:
Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 6 of 50




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                                     COMMONWEALTH OF MASSACHUSETTS

    HAMPDEN, ss.                                                               HAMPDEN SUPERIOR COURT

                                                                            CWIL ACTION NO.


SARAH A. OULTON,
    Plaintiff,
v.

CAROL B. HLADICK, ANDREW HLADICK, individually, and in his capacity as a Lieutenant
with the Town of Natick Fire Department, NANCY J. WILLIAMS, DAVID P. OULTON,
KEOUGH 4- SWEENEY, LTD., ATTORNEY JEROME V. SWEENEY II, ATTORNEY
JEROME V. SWEENEY III, individually and in his capacity as Registered Agent of Keough +
Sweeney, Ltd., ATTORNEY SEAN P. KEOUGH, ATTORNEY JOSEPH A. KEOUGH III,
ATHENA HEALTH CARE SYSTEMS MA III LLC, dba MARLBOROUGH HILLS
HEALTHCARE CENTER, COLONIAL HEALTH GROUP-WESTRIDGE, LLC, MICHAEL
LINCOLN, GINA QUIEROS, ANDREA EDWARDS, DONNA DELC1D, KAREN SPERONI,
CHRISTINE FRENCH, DENISE STEPHENSON, SAUDA MATOVU, MIRICK O'CONNELL
DIMALLIE & LOUGEE LLP, ATTORNEY JOHN 0. MIRICK, ATTORNEY JASON A.
PORT, ATTORNEY ARTHUR P. BERGERON, THE JOWDY GROUP, INC., ALEXANDER
R. JOWDY, CYNTHIA BRACCIALE, JOHN EVERETT & SONS FUNERAL HOME,
JOSEPH EVERETT, individually and in his capacity as Registered Agent of John Everett &
Sons Funeral Home, DENNIS CUNNINGHAM, SUSAN DAVIS, MAUREEN REEVE, BRIAN
FALVEY, LUKE SIMPSON, RICHARD KELLY, PLOURDE BOGUE MOYLAN &
MARINO LLP, ATTORNEY THOMAS MOYLAN, individually and in his capacity as
Registered Agent of Plourde Bogue Moylan & Marino LLP, ATTORNEY MELISSA CURLEY,
THE LAW OFFICE OF DEBORAH MASTERSON, ATTORNEY DEBORAH MASTERSON,
individually and in her capacity as Owner of The Law Office of Deborah Masterson, WINSTON
LAW GROUP, ATTORNEY NEAL WINSTON, individually and in his capacity as Registered
Agent of Winston Law Group, ATTORNEY MICHAEL COUTURE, JOHN DOES I-X, in their
individual and official capacities, and JANE DOES I-X, in their individual and official
capacities,
         Defendants.




                      'VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

             COMES NOW Plaintiff, Sarah A. Oulton, who resides at 69 Autumn Street, Agawam,

   Massachusetts ("Plaintiff'), by and through her counsel, Attorney Corcen Goodwin and Attorney

   James Bailey Brislin, and hereby brings this Complaint and alleges the following:




   Oulton v. Hladick et at. - Verified Complaint and Demand forJury Trial
      Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 8 of 50




                                    I. INTRODUCTION


       This case involves an elaborate criminal enterprise comprised of elder abuse, conspiracy,

fraud, grand larceny, and unjust enrichment commencing in December 2011 and continuing to

the present day. Plaintiff discovered the criminal acts underlying this criminal enterprise when

she was informed, via Google Alerts, of the death of her father, Attorney Donald Paul Oulton

("Donald"), on December 22, 2012, and the death of her mother, Carol Jane Oulton ("Carol"), on

December 25, 2012. Together, Donald and Carol are the "Oultons." In March 2013, Plaintiff

also learned that she had been a devisee named in her parents' Wills and that she held a

one-quarter property interest in her parents' assets.

       Plaintiff's siblings, sister Carol Hladick ("C. Hladick"), brother-law-law Natick Fire

Lieutenant Andrew Wadi& ("Lt. Hladick"), sister Nancy Williams ("N. Williams"), and brother

David Oulton ("D. Oulton") (together, the "Sibling Defendants"), aided and abetted by numerous

co-conspirators (including Jerome V. Sweeney II ("Attorney Sweeney-2"), the administrators

and staff of Marlborough Hills Healthcare Center ("Marlborough Hills"), attorneys working at

Mirick O'Connell DiMallie & Lougee LLP ("Mirick O'Connell"), public safety officials

working for the City of Marlborough and the Town of Natick Police Departments, and others),

unlawfully interfered with Plaintiff's loving relationship with her parents, the Oultons, in order

to unlawfully take from the Oultons' estate and cover up the crimes.

       The criminal enterprise forming the foundation of this case was set in motion by the

Sibling Defendants and Keough + Sweeney, Ltd. Attorneys Jerome V. Sweeney H ("Attorney

Sweeney-2"), Jerome V. Sweeney HI ("Attorney Sweeney-3"), and Sean Keough on or about

December 7, 2011. Attorney Sweeney-2 was Donald Oulton's law school classmate and the

Oultons' tax and estate planning attorney. He also served as Plaintiff's former tax attorney.
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Attorney Sweeney-2 was the author of the Oultons' estate, confidential details of which he

unlawfully shared with his co-conspirators in this case prior to the Oultons' deaths. Attorney

Sweeney-2 and Attorney Sweeney-3 coached their co-conspirators on how to remove Plaintiff

from her parents' lives, frustrate the purposes of the Oultons' Wills, take the Oultons' assets, and

then — with the help of additional willing co-conspirators — cover up their crimes.

          The purpose of the criminal 1 enterprise forming the foundation of this case was to:

          (1) institutionalize and isolate the Oultons in a nursing home;

          (2) take from the Oultons while they were still alive;

          (3) take from Plaintiff after the Oultons died;

          (4) inflict pain, suffering, damage, and emotional distress on Plaintiff; and

          (5) cover up the crimes, torts, and civil rights violations committed by the Defendants in

               furtherance of their conspiracy.

          At the commencement of the criminal scheme, 'the Oultons, who were incapacitated by

chronic alcoholism and major illness, were confined to Marlborough Hills. Carol Oulton was

overdosed on medication during her first 24 hours in residence at Marlborough Hills. The staff

and administrators of Marlborough Hills isolated the Oultons from people and unlawfully barred

Plaintiff from having contact with her elderly parents during the final months of their lives.

Through fraudulent documents used at various times, Defendants defamed Plaintiff and

attempted to silence her with threats of physical, financial, and professional harm.

          The Oultons, at their most frail, fragile, and vulnerable stage of life, were abused by

licensed professionals in positions of trust, and, as a result, they suffered immeasurably — both

physically and emotionally — in the last year of their lives. Plaintiff was also abused by those

same licensed professionals and also by public safety officials working for the Town of Natick


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oldfon v. !Redick, et al. — Venficd Complaint and Dentand for Jury Mal
        Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 10 of 50




and the City of Marlborough. The Oultons were also manipulated by attorneys of Mirick

O'Connell, who forced the Oultons to execute invalid Powers of Attorney while trapped inside

the Marlborough !fills nursing home. The Sibling Defendants engaged a number of licensed

professionals and public safety officials — including attorneys, social workers, nursing home

administrators, nurses, and police and fire officials with the Town of Natick and City of

Marlborough — in furtherance of their conspiracy. The Oultons lived under constant pressure

exerted on them by the Sibling Defendants, the Marlborough Hills administrators, and the Mirick

O'Connell attorneys, and Plaintiff has lived under constant fear and duress since this criminal

enterprise was hatched by Defendants.

          At least as early as December 2011 Attorney Sweeney-2 unlawfully informed The

Sibling Defendants of the contents of the Oultons' Wills, thus all actions taken by the Sibling

Defendants, Attorney Sweeney-2, Mirick O'Connell attorneys, and others were done in a

concerted effort to intentionally frustrate the purposes of the Oultons' Wills and defy the

Oultons' last wishes. Plaintiff did not learn that she was a devisee under the Oultons' Wills until

March 2013; by then a large amount of the Oultons' assets had been stolen by Defendants..

           In contrast with the fraudulent and defamatory statements made by Defendants in

statements and in numerous court proceedings leading up to the filing of this lawsuit, Plaintiff

shared a mutually loving relationship with the Oultons. The Oultons named Plaintiff as a devisee

in their Wills, they refused to change their Wills despite pressure exerted on them in the last year

of their lives, and — in a final act of love for Plaintiff— they refused to disinherit Plaintiff.

          Donald and Carol Oulton died on December 19, 2012, and December 25, 2012,

respectively after being held in Marlborough Hills through the use of invalid contracts executed

by Marlborough Hills and C. Hladick. Plaintiff was completely devastated when she learned, on


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         Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 11 of 50




December 22, 2012, and December 25, 2012, of the Oultons' deaths via Google Alerts. Adding

to Plaintiff's injuries, Sibling Defendants conspired with Lt. Hladick's friends on the Natick

Police Department and with the owner and staff of the John Everett & Sons Funeral Home to

unlawfully bar Plaintiff from the Oultons' wakes, funerals, and burials.

          Wakes and funerals are open to the public and they are the most sacred rituals in our

society. They are held to provide for the dignified and respectful care of the decedents and they

allow the mourners to pay special tribute to those who have passed. Wakes and funerals arc

extremely important to the survivors, and even more so when the survivors and decedents have a

parent-child relationship. Wakes and funerals arc such an integral and important part of the

grieving process that furloughs to attend them are routinely given to enlisted members of the

armed forces. Additionally, Massachusetts grants furloughs to prisoners (including inmates

serving a life sentence for murder in the second degree) so that they may attend wakes and

funerals (103 C.M.R. 463). Everett Funeral Home acted in bad faith to willfully and knowingly

exacerbate this tragic situation by agreeing (in violation of, inter alia, 239 C.M.R. 3.00-5.00) to

post armed Natick Police personnel inside Everett Funeral Home for the sole purpose of keeping

Plaintiff away from the Oultons' wakes, funerals, and burials. To date, Plaintiff does not know

where her parents, the Oultons, are buried. Plaintiff has been severely damaged by the actions of

the Defendants in this case.




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Oulton v. Hladick, etal. - Verified Complaint and Demand for !my Trial
       Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 12 of 50




                                                   EL PARTIES


          1.        Plaintiff Sarah A. Oulton ("Plaintiff") resides at 69 Autumn Street in Agawam,

Massachusetts 01001. Plaintiff is the daughter of the late Attorney Donald Paul Oulton

("Donald") (who allegedly died on December 19, 2012) and the late Carol Jane Oulton ("Carol")

(who allegedly died on December 25, 2012). Plaintiff was named as a devisee under both the

Last Will and Testament of Donald Paul Oulton (the "Will of Donald") (allegedly executed on

June 28, 2000) and the Last Will and Testament of Carol Jane Oulton (the "Will of Carol")

(allegedly executed on April 19, 2001).

          2.        Defendant Carol B. Hladick ("C. Hladick") resides at 20 Causeway Street in

Medway, Massachusetts 02053 and is employed as a Payroll Administrator for the Town of

Millis in Millis, Massachusetts. C. Hladick is the daughter of Donald and Carol and was named

as a devisee under both the Will of Donald and the Will of Carol. C. Hladick is the obligor on

contracts fraudulently executed with Marlborough llills Healthcare Center ("Marlborough

Hills"), the nursing home in which the Oultons were unlawfully held from November 2011 until

the dates of their deaths in December 2012.

          3.        Defendant Andrew Hladick ("A. Hladick") resides at 20 Causeway Street,

Medway, Massachusetts 02053, is the husband of Defendant C. Hladick, and is employed as

both a Lieutenant with the Town of Natick Fire Department in Natick, Massachusetts.

          4.        Defendant Nancy Jane Williams ("N. Williams") resides at 291 Flat Rock Road in

Athol, Massachusetts 01331 and is employed by The Commonwealth of Massachusetts (the

"Commonwealth") as Assistant Director of the Fitness and Wellness Center at Mount Wachusett

Community College. N. Williams is the daughter of Donald and Carol and was named as a

devisee under both the Will of Donald and the Will of Carol.

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Oulton v. liladtek et al. — Verified Complaint and Demand forJury Thal
         Case 1:17-cv-11343-WGY Document 1-3 Filed 07/20/17 Page 13 of 50




          5.        Defendant David Paul Oulton ("D. Oulton") resides at 61 Crescent Street in

Franklin, Massachusetts 02038. D. Oulton is the self-employed son of Donald and Carol and

was named as a devisee under both the Will of Donald and the Will of Carol.

          6.        Defendant Keough + Sweeney, Ltd. ("Keough + Sweeney") is a Massachusetts

and Rhode Island law firm with offices at 171 Milk Street, Suite 30, Boston, Massachusetts

02109 and 41 Mendon Avenue, Pawtucket, RI 02861. Said firm was responsible for the actions

of Attorneys Sweeney-2, Sweeney-3, Attorney S. Keough, and Attorney J. Keough.

          7.        Defendant Attorney Jerome V. Sweeney II ("Attorney Sweeney-2") is a

Massachusetts attorney (BBO # 490020) practicing with the law firm of Keough + Sweeney

from its Boston, Massachusetts office at 171 Milk Street, Suite 32, Boston, Massachusetts

02109. Attorney Sweeney-2 authored the substandard Will of Donald and the Will of Carol,

unlawfully revealed the confidential content of the instruments to his co-conspirators prior to the

Oultons' deaths, exploited the very deficiencies he created in order to unjustly enrich himself and

others in this case, and has tried desperately to cover up the wrongdoing.

          8.        Defendant Attorney Jerome V. Sweeney HI ("Attorney Sweeney-3"), son of

Attorney Sweeney-2, is a Rhode Island and Massachusetts attorney (BBO # 562119) practicing

as Partner with and Registered Agent of the law firm of Keough + Sweeney from its Pawtucket,

Rhode Island office at 41 Mendon Avenue, Pawtucket, RI 02861. Attorney Sweeney-3

consulted with the Sibling Defendants, revealed confidential content of the Oultons' estate plan

to his co-conspirators prior to the Oultons' deaths, and exploited the very deficiencies in the Will

of Donald and the Will of Carol order to unjustly enrich himself and others in this case

          9.        Defendant Attorney Scan P. Keough ("Attorney S. Keough") is a Rhode Island

and Massachusetts attorney (BBO # 662771) practicing with law firm of Keough -4- Sweeney


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fiom its Pawtucket, Rhode Island office at 41 Mendon Avenue Pawtucket, RI 02861. Attorney

Keough conspired with Attorney Sweeney-2 and Attorney Sweeney-3 to unlawfully coach the

Sibling Defendants on bow to exploit the deficiencies in the Oultons' inferior estate plan.

          10.        Defendant Attorney Joseph A. Keough, Jr. ("J. Keough") is a Rhode Island and

Massachusetts attorney practicing as a Partner with the law firm of Keough + Sweeney from its

Pawtucket, Rhode Island office at 41 Mendon Avenue Pawtucket, RI 02861.

          11.        Defendant Athena Health Care Systems MA III LLC ("Athena") has an address of

Attention: MCR&P Service Corporation 99 High Street, 20th Floor, Boston, MA 02110.

Athena is the current owner of Marlborough Hills, which operates at 121 Northboro Road East,

Marlborough, MA 01752 ("Marlborough Hills").

          12.        Defendant Colonial Health Group-Westridge, I,LC ("Colonial") has an address of

35 Avco Road Haverhill, MA 01835. Colonial was the owner of Marlborough Hills for much of

time the Oultons were unlawfully held in Marlborough Hills through the fraudulent contracts

executed by Marlborough Hills. Mirlborough Hills the nursing home in which the Oultons were

unlawfully held from November 2011 until the dates of their deaths in December 2012 and is the

obligee on the Oultons' fraudulently executed contracts.

          13.        Defendant Michael B. Lincoln ("Lincoln") resides at 12 Howard Avenue in

Foxborough, Massachusetts 02035, holds Massachusetts Nursing Home Administrator License

No. NH2122, is currently the Regional Director of Operations of Wingate Healthcare in

Needham, Massachusetts with a business address of Wingate Healthcare, One Charles River

Place, 63 Kendrick Street, Needham, MA 02494, and is the former Administrator of

Marlborough Hills who was employed by Marlborough Hills while Carol and Donald were

unlawfully held in the facility in 2011 and 2012.


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          14.        Defendant Gina M. Quieros ("Quieros"), residence unknown at the time of filing

this lawsuit is the former Senior Administrator of Marlborough Hills who resides, upon

information and belief, in New Hampshire, and holds Nursing Home Administrator License

No. NH3001, and is employed by Colonial Poplin, 442 Main Street, Fremont, NH 03044.

          15.       Defendant Andrea B. Edwards ("Edwards"), residence unknown at the time of

filing this lawsuit, holds Massachusetts Licensed Independent Clinical Social Worker License

No. 114473, is the former Social Worker for Marlborough Hills who was employed by

Marlborough Hills while Carol and Donald were unlawfully held in the facility in 2011 and

2012, and currently is employed by Golden Living Center located at 1199 John Fitch Highway in

Fitchburg, Massachusetts 01420.

          16.       Defendant Donna DelCid ("DelCid") resides at 26 Washburn Street in

Northborough, Massachusetts 01532, is the former Director of Nursing for Marlborough Hills

who was employed by Marlborough Hills while Carol and Donald were unlawfully held in the

facility in 2011 and 2012, and holds Registered Nurse License No. RN213787 issued by The

Commonwealth.

          17,       Defendant Karen M. Spernni ("Speroni") resides at 19 Jnhn Robert Drive. in

Rutland, Massachusetts 01543, is a former nurse at Marlborough Hills who was employed by

Marlborough Hills while Carol and Donald were unlawfully held in the facility in 2011 and

2012, and holds Licensed Practical Nurse License No. LN85797 issued by The Commonwealth.

          18.       Defendant Christine A. French ("French") resides at 42 Roosevelt Street in

Maynard, Massachusetts, is a former nurse at Marlborough Hills who was employed by

Marlborough Hills while Carol and Donald were unlawfully held in the facility in 2011 and

2012, and holds Licensed Practical Nurse License No. LN24343 issued by The Commonwealth.



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          19.        Defendant Denise Stephenson ("Stephenson") resides at 14 Harriman Road,

Hudson, Massachusetts 01749 and is a former Unit Clerk who was employed by Marlborough

Hills while Carol and Donald were unlawfully held in the facility in 2011 and 2012.

          20.        Dtfcndant Salida rylatovu ("tylatov--u-") cesiu'es at   1 5 140 Ughton
                                                                             1                Steet, ApartrAent 7,

Worcester, Massachusetts 01604, is a former nurse at Marlborough Hills who was employed by

Marlborough Hills while Carol and Donald were unlawfully held in the facility in 2011 and

2012, and holds Licensed Practical Nurse License No. LN70113 issued by The Commonwealth.

          21.        Defendant Mirick O'Connell DiMallie & Lougee LLP ("Mirick O'Connell") is a

Massachusetts law firm with offices at 100 Front Street, Worcester, MA 01608 and 1800 West

Park Drive, Suite 400, Westborough, MA 01581. Said firm is responsible for the actions of

Attorney Jason A. Port and Attorney Arthur P. Bergeron.

          22.        Defendant John 0. Mirick ("Attorney Mirick") is a Massachusetts attorney

(BBO # 349240) practicing as Partner at the law firm of Mirick O'Connell. Mirick is a founding

partner of Mirick O'Connell who took responsibility for this case from the firm's Registered

Agent after Plaintiff's counsel sent a Chapter 93A Demand Letter to the firm's Registered Agent

in June 2015.

          23.       Defendant Attorney Jason A. Port ("Attorney Port") is a Massachusetts attorney

(BBO # 672952) practicing as an Associate of the law firm of Mirick O'Connell with a business

address of 100 Front Street, Worcester, MA 01608. After the Oultons were unlawfully confined

to Marlborough Hills through fraudulent contracts executed by C. Illadick and Marlborough

Hills, Attorney Port was retained by the Sibling Defendants to fight Petitions for Conservator

that Plaintiff filed. Attorney Port fraudulently induced Plaintiff to dismiss the Petitions for

Conservator and then aided the Sibling Defendants and others — through the use of invalid


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Powers of Attorney that the incapacitated Oultons were forced to sign from the Alzheimer's Unit

of Marlborough Hills in the absence of witnesses — in the theft of the Oultons' assets.

          24.       Defendant Arthur P. Bergeron ("Attorney Bergeron") is a Massachusetts attorney

(BBO # 038960) as Of Counsel of the law firm of Mirick O'Connell with a business address of

1800 West Park Drive, Suite 400, Westborough, MA 01581. Attorney Bergeron was retained by

the Sibling Defendants to fight Petitions for Conservator that Plaintiff filed. Attorney Bergeron

assisted Attorney Port in creating and executing the Oultons' invalid Powers of Attorney so that

the Sibling Defendants and others would have unlimited access to the Oultons' assets.

         25.        Defendant the Jowdy Group, Inc. (the "Jowdy Group") is a Massachusetts

corporation with and address of 24 Wellington Drive, Westwood, MA 02090. The Jowdy Group

employs and employed Defendant Alexander R. Jowdy during all times relevant to this lawsuit.

         26.        Defendant Alexander R. Jowdy ("Jowdy") resides at 16 Pleasant Street, Medfield,

Massachusetts 02052, works at RE/MAX Distinct Advantage of 736 High Street in Westwood,

Massachusetts 02090, and holds Massachusetts Real Estate Sales & Brokers Salesperson License

No. 9042583.

         27.        Defendant Cynthia Bracciale ("Bracciale") is the purported purchaser of the

Oulton Residence (described below) and has a mailing address of 54 MacArthur Road, Natick,

MA 01760.

         28.        Defendant John Everett & Sons Funeral Homc ("Everett Funeral Home") is the

funeral homer out of which the Oultons had wakes, funerals, and burials from which Plaintiff

was unlawfully barred, and has an address of 4 Park Street Natick, MA 01760. Everett Funeral

Home collaborated with the Sibling Defendants and officials from the Natick Police Department

to unlawfully bar Plaintiff from the Oultons' wakes, funerals, and burials in December 2012.


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          29.       Defendant Joseph T. Everett ("Everett") is the owner and Registered Agent of

Everett Funeral Home and has an address of 4 Park Street Natick, MA 01760. Everett

collaborated with the Sibling Defendants and officials from the Natick Police Department to

unlawfully bar Plaintiff from the Oultons' wakes, funerals, and burials in December 2012.

          30.        Defendant Dennis Cunningham ("Cunningham") is the holder of Type 6 Funeral

Director & Embalmer License No. 6258 issued by The Commonwealth of Massachusetts, is

employed as a Funeral Director at Everett Funeral Home, and has an address of 4 Park Street

Natick, MA 01760. Cunningham collaborated with the Sibling Defendants and officials from

the Natick Police Department to unlawfully bar Plaintiff from the Oultons' wakes, funerals, and

burials in December 2012.

          31.       Defendant Susan Davis ("Davis") is the holder of Type 6 Funeral Director &

Embalmer License No. 50567 issued by The Commonwealth of Massachusetts, is employed by

Everett Funeral Home, and has an address of 4 Park Street Natick, MA 01760. Davis

collaborated with the Sibling Defendants and officials from the Natick Police Department to

unlawfully bar Plaintiff from the Oultons' wakes, funerals, and burials in December 2012 and

then unlawfully disseminated confidential details of the Oultons' funerals via telephone in

February 2013.

          32.       Defendant Maureen Reeve ("Reeve") is employed by Everett Funeral Home, and

has an address of 4 Park Street Natick, MA 01760. Reeve collaborated with the Sibling

Defendants and officials from the Natick Police Department to unlawfully bar Plaintiff from the

Oultons' wakes, funerals, and burials in December 2012 and then unlawfully disseminated

confidential details of the Oultons' funerals via telephone in February 2013.




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           33. • Defendant Brian Falvey ("Falvey") is a former employee of Everett Funeral

 Home and holder of Type 6 Funeral Director & Embalmer License No. 7521 issued by The

Commonwealth of Massachusetts. Falvey is currently employed by Brezniak Rodman Funeral

Directors with an address of 1251 Washington Street, West Newton, MA 02465. Falvey

collaborated with the Sibling Defendants and officials from the Natick Police Department to

unlawfully bar Plaintiff from the Oultons' wakes, funerals, and burials in December 2012 and

then unlawfully disseminated confidential details of the Oultons' funerals via telephone in

February 2013.

          34.        Defendant Luke Simpson ("Simpson") is employed by Everett Funeral Home, and

has an address of 4 Park Street Natick, MA 01760 and was a dress man for the Oultons' wakes,

funerals, and burials from which Plaintiff was unlawfully barred.

          35.        Defendant Richard Kelly ("Kelly") is a former employee of Everett Funeral

Home who is currently employed by George F. Doherty & Sons Funeral Homes of 477

Washington Street, Wellesley, MA 02482. Kelly was a dress man for the Oultons' wakes,

funerals, and burials from which Plaintiff was unlawfully barred.


          36.        Defendant Plourde Rogue Moylan & Marino, LLP ("PBMM") is a Massachusetts

and Rhode Island law firm with offices at 171 Milk Street, Suite 30, Boston, Massachusetts

02109 and 50 Exchange Terrace # 320, Providence, RI 02903. Said firm is responsible for the

actions of Attorney Thomas Moylan and Attorney Melissa Curley.

          37.       Defendant Thomas J. Moylan ("Attorney Moylan") is a Massachusetts attorney

(BBO # 564781) practicing with PBMM and has offices at 171 Milk Street, Suite 30, Boston,

Massachusetts 02109. Attorney Moylan assisted Attorney Sweeney-2, Mirick O'Connell, and




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others in attempting to seize control of the Oultons' estates in order to cover up the theft of the

Oultons' assets and theft of Plaintiff's one-quarter interest in the Oultons' property.

          38.       Defendant Melissa L. Curley ("Attorney Curley") is a Massachusetts attorney

(BBO #655826) practicing with PBMM and has offices at 171 Milk Street, Suite 30, Boston,

Massachusetts 02109. Attorney Couture Attorney Sweeney-2, Mirick O'Connell, and others in

attempting to seize control of the Oultons' estates in order to cover up the theft of the Oultons'

assets and theft of Plaintiffs one-quarter interest in the Oultons' property.

          39.       Defendant Law Office of Deborah C. Masterson is a Massachusetts law firm with

offices at 675 Massachusetts Avenue Fifth Floor, Cambridge, MA 02139. Said firm was

responsible for the actions of Attorney Deborah Masterson.

          40.       Defendant Deborah C. Masterson ("Attorney Masterson") is a Massachusetts

attorney (BBO # 546340) practicing with The Law Firm of Deborah C. Masterson, with an

address of 675 Massachusetts Avenue Fifth Floor, Cambridge, MA 02139. Attorney Masterson

assisted Attorney Sweeney-2, Mirick O'Connell, and others in attempting to unlawfully seize

control of the Oultons' estates in order to cover up the theft of the Oultons' assets and theft of

Plaintiff's one-quarter interest in the Oultons' property, and in order to unlawfully divert the

assets to Marlborough Hills.

          41.       Defendant Winston Law Group, LLC ("Winston Law") is a Massachusetts law

firm with offices at 440 Broadway , Somerville, MA 02145. Said firm is responsible for the

actions of Attorney Neal Winston and Attorney Michael Couture.

          42.       Defendant Neal Winston is a Massachusetts attorney (BBO # 531000), the

Registered Agent of Winston Law, and the Winston Law Partner supervising Winston Law

Associate Attorney Michael Couture.


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           43.       Defendant Michael Couture is a Massachusetts attorney (BBO # 674046) is an

Associate at Winston Law who assisted Attorney Sweeney-2 , Mirick O'Connell, Attorney

Masterson, and others in attempting to unlawfully seize control of the Oultons' estates in order to

cover up the theft of the Oultons' assets and theft of Plaintiffs one-quarter interest in the

Oultons' property, and in order to unlawfully divert the assets to Marlborough Hills.


                                   III. JURISDICTION AND VENUE


          44.       This Court has jurisdiction over the instant matter pursuant to M.G.L. c. 212 § 3.

Venue is properly laid in Hampden County pursuant to M.G.L. c.223 § 5.


                                                    IV.         FACTS


          45.       Carol and Donald Oulton ("Carol," and "Donald," together, "the Oultons") loved

their daughter, Sarah ("Plaintiff'). Plaintiff and her parents long enjoyed a close and mutually

supportive relationship. Together, they shared lunches out and frequent card games at the

Oultons residence. Sarah's parents also depended on her for their care (rides to doctor's

appointments, paying bills, etc.). Up until their parents' physical decline, Sarah and her siblings

maintained a close relationship, getting together often for family events and holidays. The

Oultons were supportive and very generous to all of their children. In fact so accustomed were

the Oultons to financially assisting their children that three of the Oulton children's personal

checking account numbers were listed on the front page of the Oultons check register. Carol

Oulton kept the account numbers of her children, Plaintiff; D. Oulton and C. Hladick, so that she

could deposit money in these accounts whenever she wished to help.




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          46.       On August 12, 1994, after a serious discussion about Plaintiff switching her career

plans from veterinary medicine to law, Donald sent a letter to Plaintiff (on behalf of himself and

Carol) (Exhibit 1) in which he stated, inter alia:


                         Enclosed is a check for 5750.00 ii•om Mom and I. It's a little
                         more than we discussed but when Mom & I looked at our
                         circumstances we decided we can handle it. It is not a loan.
                         It's just some help for you "over the rough spots."

                         I'm sorry if I was short with you on the phone. It's just that
                         I'm frustrated for you. We love you so! There isn't anything
                         we would prefer to see than you as the outstanding successful
                         person we know you can be....

                         3. Finally, always remember Mom and I are behind all your
                         efforts. There is nothing we wish more than to see you
                         successful. We are behind you always. - -

                         We love you so!
                                                            With love,
                                                            Dad 4- Mom
                                                            P.S. Call collect whenever you wish
                                                            (to cut down on your expenses!)

          47.       In 2000 or 2001 (indeterminable because dates and initials on documents appear

to have been altered), Attorney Sweeney-2 prepared an "estate plan" for the Oultons, which

failed to protect the Oultons financial interests adequately. The "estate plan" created by

Attorney Sweeney-2 contained no estate planning documents other than the Will of Donald Paul

Oulton and the Will of Carol Jane Oulton. Notably absent, the estate plan failed to include a

Family Tree, an Estate Inventory, Durable Powers of Attorney for each of the Oultons,

Substitutions of Attorney-In-Fact, Health Care Proxy documents, Health Care Directives, Living

Wills, Anatomical Gifts, HIPAA Releases, a Residence Trust, Certification of Residence Trust,

Revocable Trusts for each of the Oultons, and Trust Protectors.



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           48.       The failure of Attorney Sweeney-2 to prepare a well-crafted, protective estate

plan forms the foundation of all issues brought forth in this Complaint. Attorney Sweeney-2,

through his negligence or malpractice, is solely responsible for the deficient estate plan that left:

(a) the Oultons vulnerable to financial abuse and conversion; (b) the Estate of Donald Paul

Oulton and the Estate of Carol Jane Oulton vulnerable to conversion, embezzlement, fraud, and

unnecessarily time-consuming and expensive litigation.


           49.       Not only did Attorney SWeeney-2 create the Oultons' woefully substandard

"estate plan," but, after leaving the Oultons in the most vulnerable of conditions, he willfully and

knowingly.

           50.       In 2000 Attorney Sweeney-2 created The Last Will and Testament of Donald Paul

Oulton (the "Will of Donald"), and the Will of Donald was allegedly executed on June 28, 2000

(Exhibit 2).

           51.       It is quite noteworthy that the dates and initials shown on all Will-related

documents prepared for Donald by Attorney Sweeney-2 and later introduced as evidence in the

Middlesex County Probate and Family Court (Docket No. MI13P2282EA) appear to have been

altered.

           52.      The FIRST paragraph of the Will of Donald gave and bequeathed "all of my

personal property to my spouse, Carol Jane Oulton, if my spouse survives me. Kitty spouse

predeceases me, I give and bequeath all my personal property to my children who survive me in

equal shares as they shall agree, but if they cannot agree, then as the Executor shall decide, and

his decision shall be final [emphasis added]."

           53.      The FIRST paragraph further stated that "Meferences in this Will to my children

include: my son David Paul Oulton, and my three daughters Nancy (Oulton) Gambone, Sarah

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Ann Oulton, and Carol (Oulton) Hladick, and other lawful children born to or adopted by me

subsequent to the execution of this Will."

           54.       The SECOND paragraph of the Will of Donald states "I give, devise, and

bequeath all the rest, residue and remainder of my property, tangible or intangible, personal or

real, owned by me at my death and which is not otherwise disposed of by the provisions of this

Will, to my spouse, if my spouse survives me. If my spouse predeceases me, I then give, devise

and bequeath all the rest, residue and remainder of my estate in equal shares to my children who

survive me...." [emphasis added]

           55.       Throughout Donald's lifetime, Plaintiff was unaware of the contents of the Will

of Donald. Plaintiff never inquired of Donald or anyone as to the contents of the Will of Donald,

and, given Plaintiff's legal education, Plaintiff knew it would be unethical for Attorney

Sweeney-2 or any attorney to reveal the contents of the Will of Donald prior to the death of

Donald. Attorney Sweeney-2, in violation of Massachusetts Rules of Professional Conduct

Rule 1.6(a), not only revealed the contents of the Will of Donald to C. Madiek, N. Williams,

D. Oulton and others prior to Donald's death, but also willfully and knowingly used and

disseminated that confidential information to circumvent and frustrate Donald's last wishes and

desires as they related to Plaintiff and as declared in the Will of Donald.

          56.        The FOURTH paragraph of the Will of Donald nominated and appointed

Donald's spouse, Carol, as Executor. It further named Attorney John Mahaney of Natick, MA to

serve as Successor Executor in place of Carol if Carol should "predecease me, fail to qualify,

refuse, or cease to act for any reason." The FOURTH paragraph of the Will of Donald also

named Attorney Alan Lehman (of Peabody, MA) to serve as Executor if Carol and Attorney




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Mahaney should predecease Donald, fail to qualify, or refuse or cease to act as Donald's

Executor.

          57.       The SEVENTH paragraph of the Will of Donald states, "I request that no

beneficiary, devisee or legatee shall take under my Will unless such beneficiary, devisee or

legatee shall survive me by thirty (30) days not including the day of my death

[emphasis added]."

          58.       In 2000 or 2001 (indeterminable due to the altered dates described above),

Attorney Sweeney-2 prepared the Last Will and Testament of Carol Jane Oulton, allegedly

executed on April 19, 2001 (Exhibit 3) (the "Will of Carol").

          59.       It is apparent that dates and initials shown on all Will-related documents prepared

for Carol by Attorney Sweeney-2 and later introduced as evidence in the Middlesex County

Probate and Family Court (Docket No. MII3P1828EA) appear to have been altered.

          60.       The FIRST paragraph of the Will of Carol gave and bequeathed "all of my

personal property to my spouse, Donald Paul Oulton, if my spouse survives me. If my spouse

predeceases me, I give and bequeath all my personal property to my children who survive me in

equal shares as they shall agree [emphasis added]... but if they cannot agree, then as the Executor

shall decide, and his decision shall be final." The FIRST paragraph further stated that

"[r]eferences in this Will to my children include: my son David Paul Oulton, and my three

daughters Nancy (Oulton) Gambone, Sarah Ann Oulton, and Carol (Oulton) Hladick, and other

lawful children born to or adopted by me subsequent to the execution of this Will."

[emphasis added]

         61.        The SECOND paraptph of the Will of Carol stated that "I give, devise, and

bequeath all the rest, residue and remainder of my property, tangible or intangible, personal or


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real, owned by me at my death and which is not otherwise disposed of by the provisions of this

Will, to my spouse, if my spouse survives me. If my spouse predeceases me, I then give, devise

and bequeath all the rest, residue and remainder of my estate in equal shares to my children who

survive me...." [emphasis added]

          62.        Throughout Carol's lifetime Plaintiff was unaware of the contents of the Will of

Carol. Plaintiff never inquired of Donald or anyone as to the contents of the Will of Carol.

Given Plaintiff's legal education, Plaintiff knew it would be unethical for Attorney Sweeney-2 or

any attorney to reveal the contents of the Will of Carol prior to her death. Attorney Sweeney-2,

in violation of Massachusetts Rules of Professional Conduct Rule 1.6(a), not only revealed the

contents of the Will of Carol to C. Hladick, N. Williams, D. Oulton and others prior to Donald's

death, but also willfully and knowingly used and disseminated that confidential information to

circumvent and frustrate decedent's wishes as related to Plaintiff.

          63.        The FOURTH paragraph of the Will of Carol nominated and appointed Donald as

Executor. It further named Attorney John Mahaney of Natick, MA to serve as Successor

Executor in place of Donald if Donald should "predecease me, fail to qualify, refuse, or cease to

act for any reason." The FOURTH paragraph of the Will of Carol also named Attorney Gerard

Mahaney of Natick, MA to serve as Executor if Donald and Attorney John Mahaney should

predecease Carol, fail to qualify, or refuse or cease to act as Carol's Executor.

          64.       The EIGHTH paragraph of the Will of Carol contained a 30-day survivorship

clause (the "30-Day Survivorship Clause") which states, "I request that no beneficiary, devisee

or legatee shall take under my Will unless such beneficiary, devisee or legatee shall survive me

by thirty (30) days not including the day of my death" [emphasis added].




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          65.        Plaintiff rented an apartment in Framingham, Massachusetts in January 2002 and

remained in that residence through July 2009, at which time Plaintiff moved to Agawam,

Massachusetts to attend law school at Western New England University School of Law

("WNE Law").

          66.       Plaintiff enjoyed good relations with all members of the Oulton family after

moving to Framingham in January 2002. Plaintiff, who lived only 6.5 miles away from the

Oultons, was the closest Oulton Child in proximity to the Oultons. Plaintiff, Donald, and Carol

enjoyed multiple visits each week and lunches at various restaurants in the MetroWest area each

weekend. Several times each year, Plaintiff drove the Oultons to the home of C. Hladick and

Lt. Hladick, N. Williams, and D. Oulton for holidays that the family celebrated together,

including Christmas, Easter, and Thanksgiving.

          67.       Plaintiff enjoyed good relations with her siblings during most of the time between

2001, when she returned to Massachusetts from Colorado, and November 2011, when the actions

that form the basis of this lawsuit took place.

          68.       In April 2002, for example, C. liladick and Lt. Hladick invited Plaintiff to their

daughter's dance recital (Exhibit 4).

          69.       For Christmas 2002, Plaintiff promised to purchase a Dell computer for D. Oulton

and completed the transaction, for $320.23, on December 28, 2002 (Exhibit 5).

          70.       In the Spring of 2004, Donald invited Plaintiff to attend a luncheon at the Union

Oyster House with Defendant Attorney Sweeney-2. Donald and Attorney Sweeney-2 had been

law school classmates in the Suffolk University School of Law Class of 1969, and Plaintiff and

Attorney Sweeney-2 had known each other since the late 1960s, when Plaintiff was a child. The




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purpose of the luncheon was to congratulate Donald's former colleague on his new position with

the BBA and to socialize.

          71.       During the Spring of 2004 Union Oyster House luncheon, Plaintiff and Attorney

Sweeney-2, who had not seen each other for years, discussed Plaintiff's hopes and plans to

attend law school. At the time Attorney Sweeney-2 had been representing the Oultons in the

Oultons' estate planning and tax matters, and Attorney Sweeney-2 told Plaintiff that he would

help if Plaintiff needed any assistance in preparing to apply to law school.

          72.       In early 2005 Plaintiff contacted Attorney Sweeney-2 for legal help in

rehabilitating an outstanding student loan and filing outstanding tax returns.

          73.       Swcency2 had verbally agreed to represent Plaintiff in both Plaintiff's tax and

outstanding student loan matters. Attorney Sweeney-2 did not execute an Engagement Letter or

a Fee Agreement with Plaintiff. Instead, Attorney Sweeney-2 asked PlaintilT to assist Attorney

Sweeney-2 with some technological issues that Attorney Sweeney-2 and his wife (Mary

Sweeney) were having with their cellular telephones' "contacts" files.

          74.       In order to resolve Attorney Sweeney-2's "contacts" issues, Plaintiff met several

times with Attorney Sweeney-2 at his office (171 Milk Street, Suite 30, Boston, Massachusetts).

At Attorney Sweeney-2's office, Attorney Sweeney-2 gave Plaintiff his "rolodex" containing all

handwritten contact information for parties Attorney Sweeney-2 wanted to include on both his

and his wife's cellular telephones and in the Sweeneys' home computer. Over the course of

approximately two weeks (including a Sunday spent at Attorney Sweeney-2's home in

Wakefield, Massachusetts), Plaintiff painstakingly entered the "contacts" data into both

telephones for Attorney Swceney-2 and his wife, and into the "Contacts Listing" on Attorney

Sweeney-2's home computer.


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           75.       Attorney Sweeney-2 filed a Power of Attorney with the Internal Revenue Service

("IRS") which granted Attorney Sweeney-2 the authority to communicate with the IRS on behalf

of Plaintiff. Attorney Sweency-2 filed several outstanding tax returns in his capacity as attorney

for Plaintiff; including a return for Tax Year 2004, which listed Attorney Sweeney-2 (and his

Social Security Number) in the sections listing "Paid Preparer's Name" and "Preparer's SSN"

(Exhibit 6).

           76.       During the course of Attorney Sweeney-2's representation of Plaintiff in 2005,

Plaintiff communicated with Attorney Sweeney-2 only at his office at the law firm of Keough +

Sweeney, 171 Milk Street, Suite 30, Boston, Massachusetts 02109 (Exhibit 7). .

          77.        Subsequent to the cessation of Attorney Sweeney-2's legal representation of

Plaintiff, Attorney Sweeney-2 owed Plaintiff the duties owed to former clients set forth in the

Massachusetts Rules of Professional Conduct Rule 1.9.

          78.        In May 2006, a fire broke out under the kitchen sink of the Oulton Residence. As

a result of smoke inhalation, the Oultons were transported via ambulance to Leonard Morse

Hospital in Natick, Massachusetts. All four Oulton Children cooperatively worked together to

help the Oultons recover from this very difficult event.

          79.        In the summer of 2007, the effects of the Oultons' chronic alcoholism took a

tremendous toll on their health and marriage. Donald underwent a particularly bad drinking

binge, which ended in detox at the Leonard Morse Hospital in Natick, Massachusetts ("LM-H").

At the time, Carol was also hospitalized in Leonard Morse Hospital. After Donald was admitted,

Carol demanded that Donald leave the Oulton Residence when he was discharged from LMH.

Carol also demanded a separation from Donald.




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          80.        Upon information and belief, Donald was discharged from the detoxification unit

of LMH within a week of his admission. Donald was transported from LMH to The Hampton

Inn in Natick by Donald's older brother, Andrew Oulton. Since no plans for Donald had been

made post-hospital discharge, so Donald checked into the hotel.

          81.        On one visit to Donald's hotel, Plaintiff noticed that Donald had a fresh supply of

Smimoff's Vodka. Plaintiff realized that Donald would likely drink himself to death in the hotel,

so Plaintiff begged Donald to leave the hotel and live with her in Framingham while the Oultons

worked out their marital and alcohol-related issues.

          82.        Donald made the decision to live with Plaintiff during the separation because

Donald had no other options at the time. Donald's brother Andrew refused to allow Donald to

stay at his home in Walpole, Massachusetts. None of the other three Oulton children would

permit Donald to reside with them. Based on conversations that Plaintiff had with C. Hladick,

Lt. Hladick, N. Williams, and D. Oulton at the time, Plaintiff knew that the other three

considered Donald to be too far gone in his alcoholism to want to have Donald in their homes or

in their lives for any length of time.

          83.        The following morning, Lt. Hladick and Plaintiff drove to The Hampton Inn to

get Donald and move him into Plaintiffs apartment.

          84.        Plaintiff communicated freely with Carol during this difficult transition in order to

set up Donald's medicine list and arrange for Donald's visiting nurses to visit Donald at

Plaintiff's apartment. Plaintiff also coordinated with neighbors and friends to keep Donald

company during the day while Plaintiff worked.

          85.        Donald lived with Plaintiff in her Framingham apartment for approximately two

months in 2007, and it was a wonderful time for both of them. Plaintiff does not drink or take


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drugs, and she did not allow Donald to have any alcohol in the apartment. Donald, who was

eager to repair his fractured relationship with Carol and return to the Oulton Residence, complied

with Plaintiff's "NO ALCOHOL" rule, and Donald maintained his sobriety for months following

his move to Plaintiff's apartment and his eventual return to the Oulton Residence.

          86.       While residing at Plaintiff's Framingham apartment, Donald and Plaintiff

developed a pleasant and cooperative routine. Plaintiff cooked and visited with Donald, shopped

for Donald, did Donald's laundry, and made numerous trips to see Carol. Plaintiff and Donald

enjoyed a number of wonderful times during that otherwise difficult period, and Plaintiff's

siblings often contacted Donald (via telephone and in person) while Donald resided with Plaintiff

in the summer of 2007.

          87.       On August 16, 2007, a process server visited Donald at Plaintiff's apartment and

served a Complaint for Divorce filed by Carol (Exhibit 8). Donald was not expecting the

separation to turn into a Complaint for, at that time, so he called Plaintiff at work and was quite

upset.

          88.       Plaintiff was stunned to learn that the divorce case prepared against Donald and

served on Donald at Plaintiff's apartment was prepared by Donald's own attorneys, i.e., by the

lawyers of the law firm of Keough ÷ Sweeney. Attorney Sweeney-2, who had been Donald's

law school classmate, had previously prepared the Oultons' tax and "estate-plan" described

above. Despite Attorney Sweeney-2's conflict of interest, a breach of the Massachusetts Rules

of Professional billed Donald for Keough 4- Sweeney's representation of Carol in the divorce

proceedings against Donald. Attorney Sweeney-2's son, Attorney Sweeney-3, prepared the

divorce documents for Carol and had them served on Donald while Donald lived with Plaintiff




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          89.       On August 22, 2007, at Donald's request, Plaintiff emailed to N. Williams the

entire Complaint for Divorce packet that Attorney Sweeney-3 had served on Donald at Plaintiff's

apartment on August 16, 2007 (Exhibit 9).

          90.       During the Oultons' separation, Donald moved from Plaintiffs home in

Framingham, Massachusetts to N. Williams's home in Winchendon, Massachusetts. Donald's

health was declining, likely due to the stress brought on by the Complaint for Divorce prepared

by Attorney Sweeney-3. The family members thought Donald would do better at N. Williams's

home, because more people would be home with Donald during the day.

          91.       Donald's health declined precipitously and he was hospitalized several times after

moving to N. Williams's home in Winchcndon.

          92.       Hy the fall of 2007, the Oultons had resolved their differences and they declined

to pursue the Complaint for Divorce. Donald moved back into the Oulton Residence and the

Oultons remained there (with intermittent periods of hospitalization due to their continually

declining health) until the end of November and early December 2011.

          93.       On April 17, 2008, upon information and belief, C. Hladick accompanied the

Oultons to a medical procedure performed at Newton-Wellesley Hospital ("Newton-Wellesley")

in Wellesley, Massachusetts. There, the Oultons executed Newton-Wellesley's standard

"Massachusetts Health Care Proxy" documents appointing C. Hladick as Health Care Agent for

Donald (Exhibit 10) and Carol (Exhibit 11).

          94.       Until November 2011, the Oultons continued to live alone at the Oulton

Residence. After Carol dropped the Complaint for Divorce in the fall of 2007, the Oultons

eventually returned to drinking alcohol (Smirnoff's Vodka) on a daily basis.




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          95.        By 2008, Plaintiff had become the Oultons' primary helper around the house,

regularly doing chores and running errands for the Oultons as needed. Given Plaintiff's close

proximity to the Oulton Residence, and given that the Oultons were very supportive of Plaintiff's

desire to attend law school, the frequent visits between Plaintiff and the Oultons were enjoyed by

all three.

          96.        The Oultons' alcoholism affected the entire family for decades, however by

2009, the Oultons declining health was far worse than it had ever been.

          97.         In March 2009, the Oultons water and sewer service was scheduled for

disconnection due to non-payment of a costly water bill. This large bill was due to a water leak

in the Oultons upstairs bathroom, that they were completely unaware for a long period of time,

despite receiving two extraordinarily large hills. The Oultons requested that Plaintiff assist them

in resolving this issue with the Town of Natick.

          98.        Plaintiff corresponded several times with Town of Natick officials (both in

writing and in person) in order to resolve the Oultons' Water & Sewer bill problem (Exhibit 12).

On behalf of the Oultons, Plaintiff spoke by telephone with Selectman John Connelly about the

matter. Plaintiff had additional communications with Town of Natick Officials regarding the

Oultons' Water & Sewer problem, all of which are contained in (Exhibit 12).

          99.       Plaintiff appeared at the Town of Natick Board of Selectmen meeting held on

June 22, 2009 to request help in implementing the payment plan. Reference was made to the

Oultons' failing health, and to the fact that Plaintiff was appearing before the Board of Selectmen

as the Oultons' agent. The Selectboard thereafter established a new policy of payment plans for

people with high utility hills.




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          100.      On July 4, 2009, Plaintiff drove the Oultons to the wedding of N. Williams and

Daniel Williams in Central Massachusetts and the family celebrated together.

          101.      In July 2009, Plaintiff moved from Framingham, Massachusetts to Agawam,

Massachusetts in order to enroll in law school at WIVE Law. Prior to moving, Plaintiff, Carol,

and Donald had made arrangements for Plaintiff to continue to run errands for the Oultons and to

check in on them daily with telephone calls.

          102.      From July 2009 until the end of 2011, Plaintiff called her parents twice daily on

most days, at approximately 7:30 a.m. and at approximately 7:00 p.m.

          103.      The Oultons' health continued to decline in 2009, and their chronic alcoholism

continued to be a primary factor in the deterioration of their health. Donald was hospitalized on

numerous occasions and had to spend time in various rehabilitative facilities before being

discharged. The stress of Donald's frequent hospitalizations took a tremendous toll on Carol,

and her health also declined as a result.

          104.      On October 18, 2009, the four Oulton Children held a meeting at McDonald's on

Worcester Road in Natick, Massachusetts to discuss the deleterious effects of the Oultons'

chronic alcoholism. During the meeting, the Oulton Children wrote and signed a letter

(Exhibit 13) (the "Oulton Children's Letter") to the Oultons stating, inter alia,

                    ... as long as alcohol is a part of your lives, we will not be. We will
                    not receive calls, we will not respond to requests. For us this is a
                    heartbreaking choice that we must make because we each are done
                    with the bedlam that your choices cause in our lives.

The Oulton Children's Letter suggested a treatment program that would accept the Oultons, and

the Oulton Children hand-delivered the letter to the Oultons later in the morning. The Oultons'

reaction to the letter was rage and anger, and the Oulton Children left without making any impact

on the Oultons' chronic alcoholism.

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          105.       Sometime after the delivery of the Oulton Children's Letter, the Oultons were in

need of assistance at the Oulton Residence. Upon information and belief, D. Oulton had

resumed paying periodic visits to the Oultons; eventually, Plaintiff also resumed making visits to

the Oultons.

          106.      In 2010 the Oultons had experienced numerous, repeated problems with bill-

paying. The Oultons requested Plaintiff's help in creating a system through which the Oultons

could better keep track of the bills that came to the house. In response to that request, Plaintiff

established an "Oulton File Folder List" (Exhibit 14) and created folders for the Oultons to use

to sort their mail. As requested by the Oultons, Plaintiff would visit more frequently to help with

special projects (e.g., cleaning carpets, flipping the Oultons' mattress, painting, etc.). Plaintiff

helped the Oultons pay their bills by simply organizing the bills that came in. At the Oultons'

request, Plaintiff wrote out the details of checks to be paid to various creditors.

          107. All checks paid by the Oultons were signed by either Carol or Donald. All checks

were written for the payment of the Oultons bills and expenses.

          108.      It is noteworthy that over the years the Oultons were generous to their children. A

sampling of cheeks freely written by Carol and/or Donald to the Oulton children over the years is

found in (Exhibit 15) The following amounts of money were given by the Oultons :

          David Oulton                  January 2007 through November 2011      $47,235.00;

          Carol Hladick                 January 2001 through August 2011        $38,398.19;

          Sarah Oulton                  November 2001 through July 2011         $22,398.34;

          Nancy Williams                April 2007 through August 2008          $4,300.00

          109.      During the 2009-2010 winter break from law school, Plaintiff discovered that her

vehicle's frame had rusted and the car was no longer safe to drive. Because Plaintiff was, at this


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time, the Oultons' primary helper and frequent visitor (the distance between Plaintiff's house and

the Oultons' house totaled 81.3 miles each way), the Oultons offered to purchase a used vehicle

for Plaintiff. On January 12, 2010, the Oultons paid $12,900.00 for a 2004 Jeep Wrangler,

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all types of weather (Exhibit 16).

          110.       On March 5, 2011, Plaintiff created a "Medication List" for Carol (Exhibit 17).

Plaintiff, Carol, and Donald had discussed the utility of keeping such lists on hand at the Oulton

Residence so that the many home health aides could access the lists, and so the lists could be

taken to hospitals when the Oultons were admitted, as they were, on increasingly frequent

occasions.

          111.       On May 25, 2011, approximately one year before Plaintiff was scheduled to

graduate from law school, Plaintiff booked a hotel room for the Oultons at the Sheraton

Springfield Monarch Place in anticipation of Plaintiff's graduation (Exhibit 18). Plaintiff,

Donald, and Carol were extremely excited that Plaintiffs graduation from law school was less

than one year away, and all three were excited to celebrate the event together. To ensure that the

Oultons would have a handicap-accessible place to stay, Plaintiff hooked the hotel in May 2011

for the dates of May 18 — May 20, 2012.

          112.      On June 7, 2011, Plaintiff was unable to reach her parents by telephone; she

received a message that said their number was not accepting calls at that time. Very concerned

Plaintiff sent an email to the Oultons neighbor, Kristen Maichen ("Mrs. Maichen"), who was the

person Plaintiff frequently contacted to inquire about the Oultons well-being asking her to knock

on the door and check on her parents (Exhibit 19).




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          113.      Wonied for her parent's ability to get help in an emergency, Plaintiff contacted

Comcast and persuaded the company to accept a payment from her in order to restore phone

service to her parents' home.

          114.      On June 15, 2011, Plaintiff updated the Medication Lists she had created for the

Oultons (Exhibit 20).

          115. On July 11, 2011, Plaintiff accompanied Carol to an appointment with Carol's

primary care physician (Danielle Brook, M.D.) and she helped Carol create a list of questions to

ask the doctor (Exhibit 21).

          116.      On August 12, 2011, Plaintiff was about to enter her third and final year of law

school. Plaintiff had completed her requisite FAFSA paperwork earlier in 2011, but in August

Plaintiff was notified of a delay in the disbursement of funding (due to a reversible error).

          117. The Oultons were so invested in Plaintiff's law school success that, upon learning

of the FAFSA problem, Carol volunteered to complete Federal Form OMB No. 1845-0068, a

"Direct Loans Endorser Addendum — Federal Direct PLUS Loan Application and Promissory

Note" on behalf of Plaintiff (Exhibit 22). The Oultons agreed to guarantee Plaintiff's final year

of law school loans in the event that Plaintiff's FAFSA issues were not resolved in time.

          118. By the summer of 2011 Donald had been hospitalized and rehabilitated at a

number of different hospitals and rehabilitation facilities.

          119. In August 2011 Donald received a "Motion by Board of Bar Overseers for

Suspension of Attorneys" (the "BBO Motion") (Exhibit 23). The BBO Motion indicated that

"IF [Donald did] NOT RESPOND TO THIS LETTER WITHIN 31 DAYS, [Donald would] BE

ADMINISTRATIVELY SUSPENDED FROM THE PRACTICE OF LAW." Four attempts had




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been made by the BBO to obtain the information. Despite not actively practicing law, it was

very important to Donald Oulton that he remain a member in good standing.

         120.     Plaintiff contacted Francis Kenneally, First Assistant Clerk of the Supreme

Judicial Court for Suffolk County and took steps to resolve the HBO Motion completely

(Exhibit 24).

         121. On September 12, 2011, Plaintiff updated Donald's Medication List for Donald

(Exhibit 25).

         122. On October 1, 2011, Plaintiff updated Carol's Medication List (Exhibit 26) for

Carol.

         123.     On Saturday, October 29, 2011, The Commonwealth of Massachusetts suffered

an historic ice storm (Storm Alfred). During the stone, the roads in Massachusetts were closed

temporarily due to a state of emergency and the dangerous conditions. Plaintiff lost power at her

Agawam home, as did the Oultons in Natick.

         124.     During the storm, Plaintiff made contact with Kristen Maichen, who offered to

check on the Oultons until Plaintiff could arrive to assist. Notably, none of the other Oulton

Children, who live in much closer proximity, checked on the Oultons during the historic ice

storm.

         125. On Sunday, October 30, 2011, when the state of emergency had been lifted,

Plaintiff drove from Agawam, Massachusetts to the Oultons' residence in Natick. Upon

Plaintiff's arrival, she discovered the Oultons were without electricity, heat, and telephone.

Plaintiff found them huddled together, shivering, under the covers in bed. The Oultons had not

eaten all day and Donald Oulton had not taken his necessary insulin. Plaintiff, shocked to

discover the condition her parents had been in for over two days, informed the Oultons that they


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couldn't stay here like that because it was too dangerous. The Oultons responded that they•had

been ok because they knew Plaintiff would come for them.

           126. Plaintiff immediately offered to take the Oultons to a hotel in Natick so that they

could live comfortably while power was out at their residence. The Oultons, however,

adamantly refused to leave the Oulton Residence and insisted on staying home.

          127.      Plaintiff drove to Walmart and purchased blankets, coffee, flashlights, food, and

other items for the Oultons. Plaintiff charged Carol's cell phone in her vehicle and told the

Oultons to conserve the battery as the storm damage was extensive and it was unknown when

power would be restore.

          128. On Monday, October 31, 2011, Plaintiff sent an email to Kristen Maichen:

                    Thanks so much for checking on my parents...

                    My father's not eating and drinking much at all, and he's diabetic,
                    so it's just a matter of time before he really crashes. My mom's
                    weak as heck, too, as you know. I drove there and tried getting
                    them to go to a hotel refused. So I left them with a cell phone
                    (508-654-6266), some new blankets, a new flashlight, and some
                    coffee and food.

                    I shudder to think of them in there alone but they insisted. So what
                    can T do?

                    If you'd be willing to please knock on the door, I'd appreciate it
                    (Exhibit 27).

          129.      On Thursday, November 17, 2011, Carol was home alone in the Oulton

Residence because Donald was hospitalized at Leonard Morse Hospital in Natick,

Massachusetts. Plaintiff received a telephone call from the Oultons' neighbor, Michael Maichen,

to inform Plaintiff that Carol had fallen while home alone that evening.

          130. The Natick emergency dispatch log entry referencing the emergency call to the

Oulton Residence on November 17, 2011, is attached hereto (Exhibit 28).

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           131.      Carol broke her leg in the fall that she incurred on November 17, 2011.

           132.      Mr. Maichen informed Plaintiff that because Carol was alone in the house, the

Town of Natick Fire Department personnel were forced to break a window in order to rescue

Carol. Mr. Maichen advised Plaintiff to drive to Natick as soon as possible in order to lock up

the Oulton Residence and visit Carol at the Emergency Room of Leonard Morse Hospital.

           133.      In response to Mr. Maichen's telephone call, Plaintiff left WNE Law and    •

immediately drove to the Oulton Residence. Plaintiff checked the broken window through which

the Town of Natick Fire Department personnel had entered the Oulton Residence, removed three

empty Smirnoff Vodka bottles, secured the house to the best of her ability, gathered Carol's

pocketbook (containing wallet), packed a small bag with clothing, slippers, toiletries, and Carol's

medicines, and also picked up a copy of Carol's "Medicine List" that Plaintiff routinely

maintained for Carol.

           134.      Plaintiff stayed with Carol in the Emergency Room of Leonard Morse for several

hours and then drove to Agawam in order to catch an early flight to Denver on the following

morning.

           135.      Froin November 18, 2011, through the end of the month Carol remained

hospitalized at Leonard Morse Hospital in Natick. During the week of Thanksgiving, Carol went

into a comatose state while hospitalized in the Intensive Care Unit.

           136. On November 23, 2011, all four of the Oulton Children made plans for the entire

family to gather at the hospital, met with Carol's doctors and a priest, and prepared to say

"goodbye" to Carol, because Carol's condition was so grave.

          137.       Plaintiff attempted to drive from Agawam, Massachusetts to Natick,

Massachusetts to attend the family gathering at the hospital. On the way to Natick, the brakes on


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Plaintiffs vehicle failed as Plaintiff headed eastbound on the Massachusetts Turnpike. Plaintiff

telephoned N. Williams, who was already at Leonard Morse Hospital, and informed N. Williams

that the brakes on Plaintiff's vehicle had failed.

          138. N. Williams conferred with other family members who were already at the

hospital, and a consensus was reached that Plaintiff should put her vehicle in the shop and

borrow the Oultons' Ford 500 (the "Oultons' Car") during the time that Plaintiff's vehicle was in

the shop.

          139.      On Thanksgiving morning, November 24, 2011, Plaintiff drove the Oultons' Car

and visited the comatose Carol at the Intensive Care Unit of Leonard Morse Hospital.

          140.      Plaintiff found Carol's "Lifeline" call button (attached to a string) on the floor

underneath Carol's hospital bed. Plaintiff asked one of the nurses to please put the call button

with Carol's pocketbook, which Plaintiff left with Carol in the Emergency Room on November

17, 2011. A nurse stationed at the Intensive Care Unit informed Plaintiff that Carol's "son" had

checked the pocketbook out and took it home. The nurse showed Plaintiff the form signed by

"Carol's son" when he took Carol's pocketbook out of the Intensive Care Unit, and Plaintiff

noted that the name on the form was Lt. Hladick, Carol's son-in-law.

          141.      Plaintiff called D. Oulton (Carol's son) to confirm that he had not checked Carol's

pocketbook out of the Intensive Care Unit.

          142. Over the next several days, Plaintiff called the Hladick residence and conferred

with C. Hladick, who denied having any knowledge of the location of Carol's pocketbook. All

three of Plaintiff's siblings denied having any knowledge of the location of Carol's pocketbook.

          143.      Plaintiff suggested filing a report about Carol's stolen pocketbook with the Natick

Police Department, but Plaintiff's siblings did not agree.


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          144.      Of the four siblings, only Plaintiff was ailing to care for Donald after his release

from the Leonard Morse Hospital on November 29, 2011 and stay with him at the Oulton

Residence.

          145.      On the evening of November 29, 2011, Carol, who recovered from her coma, was

released from Leonard Morse I lospital and transferred to Marlborough Hills Healthcare Center

in Marlborough, Massachusetts ("Marlborough Hills").

          146.      On the morning of November 30, 2011, Donald was in dire need of insulin and

other medications. Plaintiff had arranged for Donald's prescriptions to be filled at CVS

Pharmacy on West Central Street in Natick, Massachusetts.

          147.      Donald asked Plaintiff to buy groceries and other items that he needed while

Plaintiff was picking up Donald's medications, and Donald said he would pay for the items he

needed. Plaintiff and Donald, however, were unable to find Donald's wallet anywhere in the

Oulton Residence.

          148.       Plaintiff made a number of telephone calls from the Oulton Residence to

C. Hladick in an attempt to get Carol's pocketbook and Donald's wallet back from C. Hladick

and Lt. Hladick so that Plaintiff could pick up the medicine and supplies that Donald so

desperately needed.

          149.      Each time Plaintiff spoke to C. Hladick, C. Hladick denied that Carol's missing

pocketbook and Donald's missing wallet were in the possession of either C. Hladick or

Lt. Hladick.

          150.      Donald suggested to Plaintiff that Plaintiff simply take a blank check (which

Donald offered to sign) to the CVS Pharmacy in order to pay for the items that Donald




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desperately needed, only to discover that the Oultons' Checkbook (the "Oultons' Checkbook")

was also missing from the Oulton Residence.

          151. With Carol's pocketbook, Donald's wallet, and the Oultons' Checkbook missing,

Plaintiff and Donald had no way for Donald to purchase the essential medicines and items that he

needed on November 30, 2011.

          152.      Worried about Donald's low blood sugar, Plaintiff informed C. Hladick that if

Donald's wallet and Carol's pocketbook were not returned to Donald at the Oulton Residence,

Plaintiff would he left with no other choice but to report the items as having been stolen by

C. Hladick and Lt. Hladick. C. Hladick's response to Plaintiff was "F*ck you, Sarah!"

          153.      Plaintiff informed Donald that C. Illadiek and Lt. Hladick were in possession of

Carol's missing pocketbook, Donald's missing wallet, and the Oultons' missing checkbook.

          154.      Donald, quite upset that C. Hladick and Lt. Hladick had stolen Carol's

pocketbook, Donald's wallet, and the Oultons' Checkbook (and were refusing to return the items

when Donald so desperately needed them) made several telephone calls to C. Hladick and

     Hladick. Donald begged the Hladicks to please return the missing items so that Plaintiff

could run to CVS and purchase Donald's medicines and other needed items. The Illadicks

denied being in possession of Carol's missing pocketbook, Donald's missing wallet, and the

Oultons' Checkbook.

          155.      Plaintiff and Donald contacted Carol at Marlborough Hills to inform her of the

missing pocketbook, wallet, and checkbook, and to see if Carol could please convince C. Hladick

and Lt. Hladick to return the items to Donald.

          156.      At 9:21 a.m. on November 30, 2011, N. Williams left the following voice mail

message for Plaintiff:


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                    Hey Sarah, it's me (Nancy Williams).

                     I understand that you're calling the police. Urn, you need to really
                     re-think that and obviously you'll do whatever you want to do, but,
                     urn, my understanding is there's some stuff about that checkbook
                     that, um, you're the one that's been writing the checks, and, I don't
                                 why Inn' rA

                     You can do whatever you want with Dad but it's just wrong, Sarah,
                     it's wrong. And, uh, it's lies. And so, I know you're pissed off. I
                     know the stuff you've been saying bye you need to call me, all
                     right?

          157.       Plaintiff and Donald were left with no other option but to contact the Natick

Police and report the pocketbook, wallet, and checkbook stolen. At 9:47 a.m. Officer Robert

Murphy was dispatched to the Oulton Residence. Officer Murphy informed Plaintiff and Donald

that he was personal friends with Lt. Illadick, and Officer Murphy offered to try to resolve the

situation for Donald.

          158.       During the visit Officer Murphy pulled out his cell phone and called Lt. Hladick

on a phone number that Officer Murphy had in his "contacts" list. Officer Murphy asked

Lt. Hladick to please return the missing wallet, pocketbook, and checkbook to Donald.

          159.      The log entry referencing Officer Murphy's call to the Oulton Residence to

resolve the theft of Carol's pocketbook, Donald's wallet, and the Oultons' Checkbook is attached

hereto as (Exhibit 29).

          160.      Officer Murphy ascertained that C. Hladick and Lt. Hladick were, indeed, in

possession of Carol's pocketbook, Donald's wallet, and the Oultons' Checkbook.

          161.       Plaintiff encouraged Donald to press charges against C. Hladick and Lt. Hladick

for the theft of Carol's pocketbook, Donald's wallet, and the Oultons' Checkbook. Donald

declined to press charges against C. Illadick and Lt. Hladick, telling Plaintiff that he did not want



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the charges to interfere with Lt. Hladick's employment with the Town of Natick Fire

Department.

          162.      At approximately 11:00 a.m. on November 30, 2011, following a number of

telephone calls among Plaintiff, C. Hladick, N. Williams, Carol, and Donald, C. Hladick burst

into the living room of the Oulton Residence, and threw Carol's pocketbook at Plaintiff's head.

C. Hladick screamed, "F*CK YOU, SARAH!, F*CK YOU, SARAH! F*CK YOU, SARAH!"

and then immediately left the Oulton Residence in her vehicle.

          163.      C. Madick returned Carol's stolen pocketbook, however C. Hladick did not return

Donald's wallet or the Oultons' Checkbook on November 30, 2011.

          164.      The following morning, December 1, 2011, Plaintiff and Donald visited with at

Middlesex Savings Bank officials, Branch Manager Wayne Hawkins and Assistant Manager

Marjorie Cappucci to discuss the missing checkbook.

          165.      At Donald's request, Mr. Hawkins printed a statement of the Oultons' Middlesex

Bank checking account on the morning of December 1, 2011 (Exhibit 30).

          166.      Given that N. Williams had alleged financial abuse by Plaintiff in N. Williams's

voice mail message to Plaintiff on November 30, 2011, Donald and Plaintiff asked Mr. Hawkins

to look at the history of checks and determine if any fraud or abuse had occurred.

          167.      Mr. Hawkins spent approximately 30 minutes reviewing cancelled checks from

the Oultons' checking account and confirmed for Donald and Plaintiff that as of that date,

December 1, 2011, everything related to the Oultons' checking account looked to be in

completely proper order.

          168.      Mr. Hawkins suggested that Donald should close the jointly held checking

account.


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          169.       Mr. Hawkins generated a number of "starter checks" for Donald and told Donald

that the Middlesex Savings Bank fraud team would keep a close eye on the Oultons' checking

account in order to prevent any possible fraud.

          170.       Plaintiff; who was receiving false accusations of wrongdoing from her siblings,

asked Donald to sign a statement giving his permission for Plaintiff to drive the Oultons' Ford

500. The "Statement of Donald Oulton" dated December 1, 2011, is attached hereto (Exhibit

  D.

                     By my signature below I hereby attest and affirm that I have freely
                     and voluntarily given financial and other assistance to my
                     daughter, Sarah Oulton, and to my other children.

                     At the present time and for the immediate future I give Sarah
                     permission to drive my car, as needed, and assist me in the
                     maintenance of my home (bills, etc.) and health.

                     Signed: Donald P. Oulton
                     Date: December 1, 2011

          171.       At approximately 11:00 p.m. on December 1, 2011, the Marlborough Hills

representative called to alert Donald that Carol had been found "unresponsive" in her bed at

Marlborough Hills, and that, as a result, Carol was rushed to UMass Memorial Hospital in

Worcester.

          172.       At approximately 11:30 p.m. on December I, 2011, Plaintiff drove Donald to

UMass Memorial Hospital in Worcester so that Donald could be with Carol in the Emergency

Room.

          173.      Carol was in a coma and completely unresponsive.

          174.      A physician on staff of the UMass Memorial Hospital informed Donald and

Plaintiff that Carol had been overdosed on Ativan (Lorazepam) by the staff at Marlborough




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Hills: The physician told Donald and Plaintiff that Carol's condition was extremely fragile and it

was possible that Carol would not survive the overdose.

           175. None of the records provided by Marlborough Hills in this case made any

mention of the overdose of Carol by Marlborough Hills staff on December 1, 2011. Indeed, in

all billing-related records, Marlborough Hills has intentionally omitted all reference to the dates

of service during which the staff at Marlborough Hills overdosed Carol within 24 hours of

Carol's admission to Marlborough Hills.

          176.       At Plaintiff's request, the staff of the UMass Memorial Hospital Emergency

Room brought an extra bed into Carol's Emergency Room suite and the Oultons rested, side-by-

side, on beds in the Emergency Room. For several hours, Plaintiff stayed with the Oultons in a

chair in Carol's UMass Memorial Hospital Emergency Room suite.

          177.      At approximately 2:00 a.m., N. Williams arrived at the Emergency Room of

UMass Memorial Hospital. N. Williams uttered several threats to Plaintiff and irrationally

expressed rage to both Plaintiff and Donald.

          178.      Donald, upset by N. Williams's irrational outburst at the Emergency Room, asked

Plaintiff to return him to the Oulton Residence. Plaintiff drove Donald home.

          179. Amidst the sudden stress, Donald's health took turn for the worse.

          180.      On the morning of December 3, 2011, Plaintiff contacted one of Donald's visiting

nurses, Nurse Patti Supple, who agreed to visit to the Oulton Residence to cheek on Donald.

          181.      Nurse Supple found Donald dehydrated, unstable, and in a state of low blood

sugar, so she recommended that Donald be admitted to the hospital immediately. Donald refused

to go to the hospital in an ambulance, so Plaintiff and Nurse Supple packed a bag and helped

Donald get into the Oultons' Car.


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          182. On December 3, 2011, Plaintiff checked Donald into Leonard Morse Hospital and

was given a letter signed by Deborah McBride, the Admitting Supervisor of MetroWcst Medical

Center stating, "Dear Ms. Oulton You have been identified as the patient representative for

Mr. Donald Oulton" (Exhibit 32).

          183.      At some point in early December 2011, Carol made a recovery from Marlborough

Ilills's drug overdose and was discharged from UMass Memorial Medical Center while Donald

was still hospitalized at Leonard Morse Hospital in Natick.

          184. Carol was discharged from UMass Memorial Hospital and returned to

Marlborough Hills against Plaintiff's wishes. Plaintiff was extremely concerned for Carol's

well-being because the staff at Marlborough Hills had overdosed Carol within 24 hours of

Carol's admission to Marlborough Hills.

          185.     Donald was transferred from Leonard Morse Hospital in Natick to Marlborough

Hills against Plaintiff's wishes, who was reviewing other facilities in which the Oultons could

recover.

          186. On December 13, 2011, Audra Collins, Director of the Marlborough Hills Social

Services Department, invited Plaintiff to attend a "Comprehensive Planning Conference on

December 27, 2011 (Exhibit 33). (Plaintiff did not attend the Care Planning Conference

because Marlborough Hills unlawfully banned her from premises on Christmas Day 2011.)

          187. Once Carol returned to Marlborough Hills from UMass Memorial Hospital in

December 2011, Plaintiff visited Carol at Marlborough Hills and maintained communication

with Carol by telephone.

         188.      Carol requested Plaintiff to continue to process the Oultons' mail at the Oulton

Residence, and to help the Oultons write checks to pay their monthly bills.


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           189. On December 17, 2011, at 9:23 a.m., Plaintiff received an email (Exhibit 34)

 from Kristen Maichen which read: "We still have all the mail so you can stop by any time."

           190. On December 24, 2011, Carol left a voice mail message for Plaintiff

                     Give me a call. I've already had OT. They grabbed me quick.
                     Okay. I'll talk to you. Call me, please. Bye.
                     Hello? Hello?

           191. At Carol's request, Plaintiff visited with Carol at Marlborough Hills on the

evening of December 24, 2011, for the purpose of paying bills. Plaintiff brought the mail to

Carol's room at Marlborough Hills along with the new checkbook.

          192. At Carol's request, Plaintiff brought a blue lockbox and cable so that Carol could

keep her checkbook and other personal items locked to her bed in Marlborough Hills. Plaintiff

set this up for Carol, and locked the blue lockbox to Carol's bed with a heavy-duty cable and a

padlock.

          193. On December 24, 2011, as Plaintiff and Carol paid the Oultons' bills while

visiting in Carol's room at Marlborough Hills, Plaintiff's brother, D. Oulton, joined them and

visited with Carol and Plaintiff for approximately one hour. D. Oulton asked Plaintiff why

Plaintiff was helping Carol pay bills and Plaintiff explained that she had been helping the

Oultons since approximately 2010.

          194.      On December 25, 2011, Plaintiff tried calling Carol several times at Marlborough

Hills to arrange for a visit with the Oultons on Christmas Day, but discovered that Carol's

telephone number at Marlborough Hills was not working.

          195. On December 25, 2011, Donald was residing in a room in the Marlborough Hills

Alzheimer's' Unit and did not have a telephone in his room, so Plaintiff was unable to directly

reach either Carol or Donald at Marlborough Hills.


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          196.      On December 25, 2011Plaintiff called the Nurse's Station at Marlborough Hills

and asked to be connected to Carol, but was told that Plaintiff was no longer allowed to talk with

Carol or Donald.

          197.      The staff at Marlborough Hills told Plaintiff, "The Health Care Proxy has been

invoked. You are not allowed to he in contact with your parents anymore."

          198.      Plaintiff knew that Health Care Proxy documents may be invoked only when a

person becomes incapacitated and only when that incapacity is verified in writing by a separate

physician. Plaintiff also knew that Health Care Proxy documents grant the Health Care Agent

only the power to make health care decisions.

          199.      Plaintiff attempted to reach the Oultons by telephone on multiple occasions after

learning that "the Health Care Proxy documents had been invoked" by Marlborough Hills staff

on December 25, 2011.

          200.      At some point between December 25, 2011, and December 30, 2011, the staff at

Marlborough Hills conspired with C. Hladick, Lt. Hladick, N. Williams, and others to keep

Plaintiff away from the Oultons.

          201.      The unlawful separation of Plaintiff from the Oultons was imposed by parties who

mutually benefited from the absence of Plaintiff from the Oultons' lives, giving them the

opportunity to take the Oultons' assets without any interference from Plaintiff.

          202.      On December 29, 2011 Plaintiff received a voice mail from Donald:



                    Hi Sarah.

                    It's your Dad.

                    And, uh, if you can find a way to get to the hospital, mom will give
                    you some money. I told her $50. Now that's a start. I know you

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